                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:
                                                                         Chapter 11
                                  1
    J & M SALES INC., et al.,
                                                                         Case No. 18-11801 (LSS)
                            Debtors.
                                                                         Jointly Administered


         NOTICE OF APPEARANCE AND DEMAND FOR SERVICE OF PAPERS

             PLEASE TAKE NOTICE that request is made by counsel for interested parties Priority

Technology Holdings, Inc. (“Priority”) and Swipe Payment Solutions, Inc. (“Swipe” and together

with Priority the “Interested Parties”), in the above-referenced case, in accordance with 11 U.S.C.

§ 1109(b) and Fed. R. Bankr. P. Rules 2002 and 9010(b) (the “Rules”), that all papers, pleadings,

motions and applications served or required to be served in this case, be given to and served upon:

            Natasha M. Songonuga, Esq.                                  Theodore A. Cohen, Esq.
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             PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only the

notices and the papers referred to in the Rules specified above, but also includes without limitation

orders and notices of any application, motion, petition, pleading, request, complaint of demand,


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 Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor's federal tax identification number,
are: J & M Sales Inc. (4697); National Stores, Inc. (4874); J&M Sales of Texas, LLC (5979); FP Stores, Inc. (6795);
Southern Island Stores, LLC (8099); Southern Island Retail Stores LLC (4237); Caribbean Island Stores, LLC (9301);
Pazzo FNB Corp. (9870); Fallas Stores Holdings, Inc. (6052); and Pazzo Management LLC (1924).
whether formal or informal, whether written or oral and whether transmitted or conveyed by mail,

e-mail, delivery, telephone, telegraph, telex, or otherwise, which may affect or seek to affect in

any way any rights or interests of creditors with respect to the Debtors or any related entity, or

property or proceeds thereof in which the Debtors may claim an interest.

       PLEASE TAKE FURTHER NOTICE that neither this notice nor any subsequent

appearance, pleading, claim, or suit is intended or shall be deemed to waive Interested Parties’

rights: (i) to have final orders in non-core matters, as well as statutory core matters in which the

court lacks the Constitutional authority to enter a final order absent the consent of the parties,

entered only after de novo review by a district court judge; (ii) to trial by jury in any proceedings

so triable herein or in any case, controversy or proceeding related hereto; and (iii) to have the

reference withdrawn by the United States District Court in any matter subject to mandatory or

discretionary withdrawal; or any other rights, claims, actions, defenses, setoffs or recoupments to

which Interested Parties are and/or may be entitled under agreements, at law or in equity, all of

which rights, claims, actions, defenses, setoffs and recoupments are expressly reserved.

       PLEASE TAKE FURTHER NOTICE that this appearance and request for notice is made

without prejudice to Interested Parties’ rights, remedies and claims against other entities. All

rights, remedies and claims are hereby expressly reserved.

Dated: October 26, 2018                       GIBBONS P.C.
Wilmington, Delaware
                                              By: /s/ Natasha M. Songonuga
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                                              Priority Technology Holdings, Inc. and Swipe
                                              Payment Solutions, Inc.
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